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 9
10                        UNITED STATES DISTRICT COURT
11                      CENTRAL DISTRICT OF CALIFORNIA
12
13 KRYSTAL VENTURES, LLC,                      CASE NO. 2:22-cv-04494
14               Plaintiff,
15         vs.                                 COMPLAINT FOR BREACH OF
                                               CONTRACT
16 GENTRY BEACH,
17               Defendant.                    DEMAND FOR JURY TRIAL
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                                          COMPLAINT
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 1                                    INTRODUCTION
 2         1.    This action arises out of defendant Gentry Beach’s (“Beach” or
 3 “Defendant”) repeated failure and refusal to pay plaintiff Krystal Ventures, LLC
 4 (“Krystal Ventures” or “Plaintiff”) monies that Beach has twice agreed in writing he
 5 owes. Beach entered into, and then almost immediately breached, two settlement
 6 agreements—a settlement agreement and an amended settlement agreement—with
 7 Krystal Ventures to resolve a dispute between the parties dating from 2020. Krystal
 8 Ventures’ repeated attempts to resolve this dispute informally have gone
 9 unanswered and, as a result, it was forced to file this lawsuit to vindicate its rights.
10                                      THE PARTIES
11         2.    Krystal Ventures is a limited liability company incorporated in the state
12 of California, with its principal place of business in Long Beach, California.
13         3.    On information and belief, Gentry Beach is an individual residing in
14 the state of Texas.
15                             JURISDICTION AND VENUE
16         4.    Diversity jurisdiction exists pursuant to 28 U.S.C. § 1332. There is
17 complete diversity of citizenship because Krystal Ventures is a resident of
18 California, and Defendant is a resident of Texas. The amount in controversy,
19 exclusive of interest and costs, exceeds the sum or value of $75,000.
20         5.    Personal jurisdiction exists over Defendant in this district because (1)
21 he intentionally directed his activities into this jurisdiction by entering into multiple
22 agreements with Krystal Ventures, including the settlement agreement that is the
23 subject of this action; and (2) in paragraph 9 of the operative amended settlement
24 agreement, the full details of which are set forth below, Beach expressly consented
25 to the sole and exclusive personal jurisdiction and venue in the federal or state
26 courts of California.
27         6.    Venue is proper in this Court because (1) a substantial part of the
28 events or omissions giving rise to the claim asserted in this action occurred in this

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 1 district, 28 U.S.C. § 1391(b)(2); and (2) in paragraph 9 of the operative amended
 2 settlement agreement, Beach expressly consented to the sole and exclusive personal
 3 jurisdiction and venue in the federal or state courts of California.
 4                               STATEMENT OF FACTS
 5        7.     On or about October 9, 2020, Krystal Ventures filed an action against
 6 Beach (Case No. 2:20-cv-09315-DMG (C.D. Cal.)), alleging claims for fraud,
 7 breach of contract, and unjust enrichment, arising out of Beach’s failure to pay
 8 Krystal Ventures monies owed in connection with the purchase and sale of Personal
 9 Protective Equipment for use in combatting the COVID-19 pandemic.
10        8.     On or about May 13, 2021, the parties entered into a settlement
11 agreement, pursuant to which the action was dismissed (the “Settlement
12 Agreement”). In that agreement, Beach acknowledged that he owed Krystal
13 Ventures a total of $662,500, and agreed to pay Krystal Ventures that amount on or
14 before October 30, 2021.
15        9.     Beach breached that Settlement Agreement and failed to pay the
16 amount due by October 30, 2021. On or about November 3, 2021, Krystal Ventures
17 sent Beach a written notice of default pursuant to that Settlement Agreement. Beach
18 failed to cure his default within 30 days as required.
19        10.    After further negotiations, on or about February 15, 2022, the parties
20 entered into an amended settlement agreement (the “Amended Settlement
21 Agreement”) (attached hereto as Exhibit 1). Pursuant to that agreement, Gentry
22 Beach was required to pay Krystal Ventures the sum of $642,500 in several
23 installment “Payments.”
24        11.    A Payment of $100,000 was due on or before April 30, 2022.
25 (Amended Settlement Agreement, § 1.) Beach failed to make that Payment.
26 Accordingly, the full balance due under the Amended Settlement Agreement was
27 immediately due and payable. (Id., § 3(a).) Pursuant to section 3(a) of the
28 Amended Settlement Agreement, on or about May 4, 2022, Krystal Ventures

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 1 provided written notice of default to Beach and his attorneys. Beach failed to cure
 2 his default within thirty (30) calendar days as required. (See id.)
 3         12.   Beach also failed to make the $100,000 Payment due on May 31, 2022.
 4 (See Amended Settlement Agreement, § 1.) Krystal Ventures sent Beach a second
 5 written notice of default on or about June 1, 2022. Beach again failed to cure his
 6 default.
 7         13.   Having failed to make the requisite payments on time, Beach also owes
 8 contractual interest on the total amount due at a rate of 10% per annum, accruing
 9 from the date of the Amended Settlement Agreement, i.e., February 15, 2022. (Id.,
10 § 3(b).)
11         14.   Finally, the Amended Settlement Agreement expressly provides that in
12 the event of default, “Krystal Ventures shall be entitled to immediately file an action
13 to enforce its terms and to collect any and all unpaid sums.” (Id., § 3(c).)
14                  FIRST CLAIM FOR BREACH OF CONTRACT
15         15.   Krystal Ventures repeats and re-alleges paragraphs 1 through 14 of this
16 Complaint.
17         16.   On or about February 15, 2022, Krystal Ventures and Beach entered
18 into the Amended Settlement Agreement, which is a valid and enforceable contract.
19         17.   Krystal Ventures performed under the Amended Settlement Agreement
20 and/or was excused from performance, including by refraining from filing a lawsuit
21 against Beach for the amounts due under the parties’ prior Settlement Agreement.
22         18.   Beach breached the Amended Settlement Agreement, including by
23 failing to make the required $100,000 Payment due on or before April 30, 2022,
24 failing to make another required $100,000 Payment due on or before May 31, 2022,
25 and failing to cure his default within thirty days after receiving written notice of
26 default.
27         19.   Krystal Ventures has been harmed as a result of Beach’s breach in the
28 amount of the total outstanding balance due under the Amended Settlement

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 1 Agreement, and contractual interest due on this amount at an annual rate of 10%,
 2 accruing from the date of the Amended Settlement Agreement, i.e., February 15,
 3 2022.
 4                                   PRAYER FOR RELIEF
 5         WHEREFORE, Plaintiff Krystal Ventures requests judgment against Beach
 6 as follows:
 7         A.      General and special damages according to proof;
 8         B.      Contractual and/or statutory interest;
 9         C.      Any and all other relief this Court deems just and proper.
10                                 DEMAND FOR JURY TRIAL
11         In accordance with Rule 38 of the Federal Rules of Civil Procedure, Krystal
12 Ventures respectfully demands a jury trial of all issues triable to a jury in this action.
13
     DATED: June 30, 2022                   Ekwan E. Rhow
14                                          Oliver Rocos
15                                          Jonathan M. Jackson
                                            Bird, Marella, Boxer, Wolpert, Nessim,
16                                          Drooks, Lincenberg & Rhow, P.C.
17
18
19                                          By:
                                                              Oliver Rocos
20                                                Attorneys for Plaintiff Krystal Ventures,
21                                                LLC
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                                              COMPLAINT
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                         EXHIBIT 1



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                        AMENDED SETTLEMENT AGREEMENT
       This AMENDED SETTLEMENT AGREEMENT ("Amended Agreement") is made and
entered into as of February 15, 2022, by and between Gentry Beach ("Beach") and Krystal
Ventures, LLC ("Krystal Ventures") (together, the "Parties").

       WHEREAS, on or about May 4, 2021, the Parties entered into that certain Settlement
Agreement relating to the action styled Krystal Ventures, LLC v. Gentry Beach, Case No. 20-cv-
09315, pending in the United States District Court for the Central District of California;

       WHEREAS, the Settlement Agreement provides that Beach shall pay Krystal Ventures
the sum of $662,500 on or before October 30, 2021 (the "Payment"), and further provides that in
the event of a default that is not cured timely, interest shall accrue on the entire outstanding
amount of the Payment at the time of default at a simple rate of 10% per annum, and shall be
deemed to have been accruing from the date of the Settlement Agreement;

      WHEREAS, Beach did not pay Krystal Ventures the sum of $662,500 on or before
October 30, 2021;

       WHEREAS, on or about December 27, 2021, Beach paid Krystal Ventures the sum of
$100,000;

       WHEREAS, the Parties desire to enter into this Amended Agreement to avoid the
burden, risks, costs, and uncertainties associated with further litigation;

        NOW, THEREFORE in consideration of the mutual promises, agreements, and
covenants contained herein, and for other good and valuable consideration described below, the
receipt and sufficiency of which are hereby acknowledged, the Parties agree to enter into this
Amended Agreement as follows:

1.     Payment. Beach shall pay Krystal Ventures the total sum of $642,500 according to the
       following schedule (the "Payments," referred to collectively as the "Payment"):

              $100,000 by February 28, 2022;
              $100,000 by April 30, 2022;
              $100,000 by May 31, 2022;
              $100,000 by June 30, 2022;
              $100,000 by July 31, 2022;
              $100,000 by August 31, 2022; and
              $42,500 by September 30, 2022.

2.     Lawsuit. Except as set forth below, Krystal Ventures shall not initiate litigation to
       collect unpaid sums under the Settlement Agreement.

3.     Default.

       (a)    In the event Beach fails to make any of the Payments in accordance with Section
              1 above or a bankruptcy proceeding is commenced with respect to Beach, any
              amount of the Payment outstanding at that time shall be immediately due and
              payable. In the event any of the Payments is not made timely, Krystal Ventures
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            shall provide a written notice of default to Beach and provide Beach thirty (30)
            calendar days to cure the default, and, if a default is cured within that time period,
            the payment shall be deemed timely.

     (b)    In the event of a default that is not cured timely, interest shall accrue on the entire
            outstanding amount of the Payment at the time of default. Interest shall accrue at
            a simple rate of 10% per annum, and shall be deemed to have been accruing from
            the date of this Amended Agreement (e.g., if$500,000 is unpaid on May 31,
            2022, interest on that sum shall be deemed to have been accruing since the date of
            this Amended Agreement). Any such interest also shall be immediately due and
            payable.

     (c)    In the event Beach fails to make any of the Payments and fails to cure a duly
            noticed default timely, or otherwise breaches this Amended Agreement, Krystal
            Ventures shall be entitled to immediately file an action to enforce its terms and to
            collect any and all unpaid sums.

4.   Releases. The Parties hereby release one another (and, where applicable, their members,
     successors, heirs, assigns, and spouses, including, for the avoidance of doubt, Daniel
     Kang) from any and all liability, claims, demands, damages, injuries, losses, costs,
     expenses, attorneys' fees, actions, causes of actions, duties, debts, responsibilities, and
     liabilities of law or equity, whether known or unknown, arising out of or related to the
     Settlement Agreement. This release does not release any other claims, causes of action,
     duties, or obligations not expressly stated herein, including, but not limited to, (a) any
     other claims the Parties may possess against each other; (b) any of the Parties' claims
     against SNS Global USA, Rick Kofoed, or other parties; and (c) the Parties' rights and
     remedies to enforce any obligation arising under this Amended Agreement.

5.   No Waiver. No failure or forbearance by any of the Parties to exercise any right or
     remedy with respect to the enforcement of this Amended Agreement, or waiver or
     indulgence of any breach or series of breaches of this Amended Agreement, will be
     deemed or construed as an ongoing waiver with regard to any subsequent breach or as a
     waiver of any provision of this Amended Agreement, or affect the enforceability of any
     part or all of this Amended Agreement. No waiver will be valid unless executed in
     writing by the waiving party.

6.   No Admission of Liability or Wrongdoing. Nothing herein shall be construed as an
     admission of liability or wrongdoing by either Party.

7.   Amendment. This Amended Agreement cannot be modified or amended in any way
     other than in writing, signed by the party to be charged.

8.   Governing Law. This Amended Agreement is made pursuant to, and shall be governed
     by, the laws of the State of California.

9.   Dispute. In the event of a dispute regarding the terms or the enforcement of this
     Amended Agreement, all Parties expressly and irrevocably consent to submit to the sole
     and exclusive personal jurisdiction and venue in the federal or state courts of California.
     They further agree that all disputes or litigation arising out of, relating to, or regarding

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      this Amended Agreement shall be submitted to and determined by those courts, which
      shall have sole and exclusive jurisdiction.

10.   Joint Drafting. This Amended Agreement shall be deemed to have been written jointly
      by the Parties. Ambiguities shall not be construed against the interest of any Party by
      reason of it or he having drafted all or any part of this Amended Agreement.

11.   Severability. If any provision of this Amended Agreement is held to be unenforceable
      by a court, tribunal, or arbiter of competent jurisdiction, the remainder of this Amended
      Agreement shall remain binding and enforceable to the fullest extent permitted by law.

12.   Voluntary Agreement. This Amended Agreement has been carefully read by the Parties
      and each Party warrants that it has had the opportunity to consult with counsel of their
      choice. The contents hereof are known and fully understood by the Parties and each Party
      acknowledges that it is under no duress or undue influence and that it has executed this
      Amended Agreement as its or his own free and voluntary act.

13.   Binding on Successors. This Amended Agreement shall be binding upon, and shall
      inure to the benefit of, the Parties and their respective (where applicable) members,
      successors, heirs, assigns, and spouses.

AGREED TO AND ACCEPTED BY:



DATED: Februad ~022




DATED: February ~ ' ' 2022
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                                                   KRYSTAL VE •TU                     S LLC
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                                                           Name: ' - 1           J
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